Case 9:20-ap-01002-DS       Doc 1 Filed 01/07/20 Entered 01/07/20 15:03:51           Desc
                            Main Document     Page 1 of 7


1    JEREMY W. FAITH (SBN 190647)
     Email: Jeremy@MarguliesFaithLaw.com
2    MEGHANN A. TRIPLETT (SBN 268005)
     Email: Meghann@MarguliesFaithLaw.com
3    MARGULIES FAITH, LLP
     16030 Ventura Blvd., Suite 470
4
     Encino, California 91436
5    Telephone: (818) 705-2777
     Facsimile: (818) 705-3777
6

7    Attorneys for Sandra K. McBeth, Chapter 7 Trustee

8

9                            UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF CALIFORNIA
10                                  NORTHERN DIVISION

11

12   In re                                          Case No.: 9:18-bk-11009-DS

13   MARK STEVEN LIMON                              Chapter 7

14                                        Debtor. Adv. No.:

15                                                  COMPLAINT FOR:
     SANDRA K. McBETH, Chapter 7 Trustee,
16                                                  (1) AVOIDANCE OF PREFERENTIAL
                                         Plaintiff,     TRANSFERS [11 U.S.C. § 547];
17   v.
                                                    (2) RECOVERY OF AVOIDED
18   LORI LIMON, an individual,                         TRANSFERS [11 U.S.C. § 550]; AND

19                                    Defendant. (3) DISALLOWANCE OF CLAIMS [11
                                                     U.S.C. §502]
20

21   TO THE HONORABLE DEBORAH J. SALTZMAN, UNITED STATES BANKRUPTCY
22   JUDGE:
23           Plaintiff Sandra K. McBeth, Chapter 7 trustee (“Plaintiff”) for the bankruptcy estate
24   of Mark Steven Limon (“Debtor”), hereby brings this “Complaint For: (1) Avoidance of
25   Preferential Transfers [11 U.S.C. § 547]; (2) Recovery of Avoided Transfers [11 U.S.C. §
26   550]; and (3) Disallowance of Claims [11 U.S.C. §502]” (the “Complaint”) and
27   respectfully alleges the following upon knowledge, information, and belief:
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Case 9:20-ap-01002-DS       Doc 1 Filed 01/07/20 Entered 01/07/20 15:03:51           Desc
                            Main Document     Page 2 of 7


1                                           JURISDICTION
2           1.     The Court has jurisdiction over this adversary proceeding and its subject
3    matter pursuant to 28 U.S.C. §§ 157(b)(1), and 1334(b) in that this proceeding arises in
4    and relates to the bankruptcy case of In re Mark Steven Limon (the “Debtor”), Case No.
5    9:18-bk-11009-DS (the “Bankruptcy Case”) presently pending in the United States
6    Bankruptcy Court for the Central District of California. This proceeding also “arises
7    under” title 11 as it involves a cause of action created or determined by a statutory
8    provision of title 11. Plaintiff consents to entry of final judgment and orders by the
9    Bankruptcy Court. This action is a core proceeding under 28 U.S.C. § 157(b)(2)(A) and
10   (F). Plaintiff consents to entry of final judgment and orders by the Bankruptcy Court.
11                                               VENUE
12          2.     Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1408 and
13   1409(a) because this adversary proceeding arises under and in connection with a case
14   filed under Title 11 which is pending in this district and which does not involve a
15   consumer debt less than $19,850. The Court also has personal jurisdiction over the
16   defendant.
17                                           THE PARTIES
18          3.     Plaintiff Sandra K. McBeth (“Plaintiff”), Chapter 7 Trustee for the
19   bankruptcy estate of Mark Steven Limon, brings this action solely in her capacity as the
20   Chapter 7 Trustee for the Debtor’s estate.
21          4.     Plaintiff is informed and believes that defendant Lori Limon (“Defendant”) is
22   an individual subject to the jurisdiction of this Court.
23          5.     Plaintiff is further informed and believes that Defendant is the Debtor’s
24   stepmother and, therefore, is an insider of the Debtor, as that term is defined in 11
25   U.S.C. §101(31).
26   ///
27   ///
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Case 9:20-ap-01002-DS      Doc 1 Filed 01/07/20 Entered 01/07/20 15:03:51            Desc
                           Main Document     Page 3 of 7


1                                    GENERAL ALLEGATIONS
2           6.     The Debtor filed a voluntary petition for relief under Chapter 7 of Title 11 of
3    the Bankruptcy Code on June 25, 2018 (the “Petition Date”).
4           7.     Plaintiff was subsequently appointed as the Chapter 7 Trustee to
5    administer the Debtor’s estate.
6           8.     Plaintiff does not have personal knowledge of all the facts alleged in this
7    Complaint and, therefore, alleges certain facts on information and belief. Plaintiff
8    reserves her right to amend this Complaint to allege additional claims against the
9    Defendant and to challenge and recover transfers made to or for the benefit of the
10   Defendant in addition to those transfers alleged in this Complaint.
11          9.     Plaintiff is informed and believes that within the one-year prior to the
12   Petition Date, the Debtor transferred at least $50,000 to the Defendant (the “Transfer”).
13          10.    The Transfer was made via cashier’s check payable to Lori Limon dated
14   March 10, 2018, and drawn from one or more accounts held by the Debtor.
15          11.    Plaintiff is informed and believes that the Transfer was paid on account of
16   outstanding debt(s) owed by the Debtor to Defendant at the time the payment(s).
17          12.    Plaintiff is informed and believes that on May 21, 2017, the Debtor filed a
18   voluntary petition for relief in the United States Bankruptcy Court for the Central District
19   of California under Chapter 11 of Title 11 of the Bankruptcy Code for his business
20   Stevenson Investment Group, LLC dba a Better Way Pharmacy as Case No. 2:17-bk-
21   16716-NB (the “Business Bankruptcy”).
22          13.    Plaintiff is informed and believes that the Business Bankruptcy was filed to
23   resolve the Debtor’s personal financial and legal issues relating in part to his default on
24   more than $100,000 in unsecured business debt that he personally guaranteed.
25          14.    Plaintiff is informed and believes that the Debtor was in the zone of
26   insolvency from early 2017, through the date of the entry of the order for relief, and that
27   the Debtor was unable to pay his obligations to creditors as such obligations came due.
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Case 9:20-ap-01002-DS        Doc 1 Filed 01/07/20 Entered 01/07/20 15:03:51         Desc
                             Main Document     Page 4 of 7


1           15.    Plaintiff has made demand on Defendant for the return of the Transfer.
2    Defendant has not responded to Plaintiff’s demand.
3                                    FIRST CLAIM FOR RELIEF
4                      (Avoidance and Recovery of Preferential Transfers)
5           16.    Plaintiff hereby incorporates herein by reference the preceding paragraphs
6    of the Complaint as if fully set forth herein.
7           17.    Plaintiff is informed and believes that the Debtor made the Transfer within
8    the one-year prior to the Petition Date.
9           18.    Plaintiff is informed and believes that the Transfer was made to or for the
10   benefit of Defendant at a time in which Defendant was a creditor of the Debtor, as the
11   term “creditor” is defined by 11 U.S.C. § 101(10).
12          19.    Plaintiff is informed and believes that the Debtor had a property interest in
13   the funds that made up the Transfer; as the Transfer was drawn against and cleared one
14   or more of the Debtor’s bank accounts.
15          20.    Plaintiff is informed and believes that the Transfer was made for or on
16   account of an antecedent debt owed by the Debtor to the Defendant.
17          21.    Plaintiff is informed and believes that the Transfer was made while the
18   Debtor was insolvent.
19          22.    Plaintiff is informed and believes that the Transfer enabled the Defendant
20   to receive more than she would have received as a creditor if: (a) the Transfers had not
21   been made; and (b) the Defendant received payment of the debts she was owed to the
22   extent provided under the Bankruptcy Code. As of the Petition Date, the Debtor had
23   little to no unencumbered assets and had scheduled unsecured debts exceeding
24   $820,000.
25          23.    Plaintiff is informed and believes that interest on the Transfers have
26   accrued and continue to accrue at the maximum legal rate pursuant to 28 U.S.C. § 1961
27   from the time the Transfers were made.
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Case 9:20-ap-01002-DS       Doc 1 Filed 01/07/20 Entered 01/07/20 15:03:51           Desc
                            Main Document     Page 5 of 7


1           24.    Plaintiff is informed and believes that the Transfer was a preferential
2    transfer avoidable under 11 U.S.C. § 547(b).
3                                   SECOND CLAIM FOR RELIEF
4                                  (Recovery of Avoided Transfer)
5                                          [11 U.S.C. § 550]
6           25.    Plaintiff realleges and incorporates by reference each and every preceding
7    paragraph of the Complaint as if fully set forth herein.
8           26.    Plaintiff is informed and believes that the Defendant was the initial
9    transferee of the Transfer, or the individual or entity for whose benefit the Transfer was
10   made or were the immediate or mediate transferee of the initial transferee receiving such
11   Transfer, or any of them.
12          27.    To the extent that the Transfer is avoided pursuant to 11 U.S.C. § 547,
13   Plaintiff may recover, for the benefit of the Estate, the Transfer, or the value of such
14   transfer, from Defendant or from the entity or entities for whose benefit the Transfer was
15   made, or any immediate or mediate transferee of such initial transferee, plus interest at
16   the legal rate.
17                                   THIRD CLAIM FOR RELIEF
18                                    (Disallowance of Claims)
19          28.    Plaintiff hereby incorporates herein by reference the preceding paragraphs
20   of the Complaint as if fully set forth herein.
21          29.    Plaintiff is informed and believes that the Defendant is the initial transferee
22   of the Transfer.
23          30.    Plaintiff is informed and believes that the Defendant is an entity from which
24   property is recoverable under 11 U.S.C. § 550.
25          31.    The Defendant has not paid Plaintiff or the Estate the amount for which it is
26   liable under 11 U.S.C. § 550.
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Case 9:20-ap-01002-DS      Doc 1 Filed 01/07/20 Entered 01/07/20 15:03:51           Desc
                           Main Document     Page 6 of 7


1           32.    Accordingly, to the extent the Defendant files a claim, such claim should be
2    disallowed pursuant to 11 U.S.C. § 502(d).
3       WHEREFORE, Plaintiff prays for a judgment against the Defendant as follows:
4           a.     For judgment avoiding the Transfers under 11 U.S.C. § 547(b) for the
5    benefit of the estate, and recovering the Transfers, plus interest thereon at the legal rate
6    from Defendant under 11 U.S.C. § 550;
7           b.     For disallowance of any claims asserted by Defendant, pursuant to 11
8    U.S.C. § 502;
9           c.     For costs of suit incurred this proceeding; and
10          d.     For such other further relief as the Court deems just and proper
11
      DATED: January 7, 2020                          MARGULIES FAITH, LLP
12

13                                                    By: /s/ Meghann A. Triplett _________
                                                      Meghann A. Triplett
14                                                    Attorneys for Plaintiff Sandra K.
                                                      McBeth, Chapter 7 Trustee
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            Case 9:20-ap-01002-DS                   Doc 1 Filed 01/07/20 Entered 01/07/20 15:03:51                                    Desc
                                                    Main Document     Page 7 of 7



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
16030 Ventura Blvd., Suite 470, Encino, CA 91436

A true and correct copy of the foregoing document entitled COMPLAINT FOR: (1) AVOIDANCE OF PREFERENTIAL
TRANSFERS [11 U.S.C. § 547]; (2) RECOVERY OF AVOIDED TRANSFERS [11 U.S.C. § 550]; AND (3)
DISALLOWANCE OF CLAIMS [11 U.S.C. §502] will be served or was served (a) on the judge in chambers in the format
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On January
7, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

TRUSTEE: Sandra McBeth (TR) jwalker@mcbethlegal.com, CA65@ecfcbis.com;ecf.alert+McBeth@titlexi.com
ATTORNEY FOR DEBTOR: John Sullivan johnw.sullivan@yahoo.com
ATTORNEY FOR TRUSTEE Meghann A Triplett Meghann@MarguliesFaithlaw.com,
Helen@MarguliesFaithlaw.com;Victoria@MarguliesFaithlaw.com;Noreen@MarguliesFaithlaw.com;
Angela@MarguliesFaithlaw.com
United States Trustee (ND) ustpregion16.nd.ecf@usdoj.gov

                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On January 7, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

JUDGE: Honorable Deborah J. Saltzman, U.S. Bankruptcy Court, 255 E. Temple St., Ste. 1634, Los Angeles, CA 90012

                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on ___________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  January 7, 2020                         Angela Saba                                            /s/ Angela Saba
  Date                                         Printed Name                                      Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
